                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                   1:05CR248


UNITED STATES OF AMERICA,                            )
                                                     )
Vs.                                                  )               ORDER
                                                     )
CLARA MICHELLE HENSON,                               )
                                                     )
                  Defendant.                         )
________________________________________             )


        THIS CAUSE being heard before the court on 8 February 2006 upon a Motion to Suppress

Evidence and Statements filed by counsel for the defendant on December 13, 2005 and at the call

of this matter on for hearing counsel for the defendant moved the court to be allowed to dismiss and

withdraw the Motion to Suppress Evidence and Statements and it appearing to the court that good

cause has been shown for the granting of said motion.

        IT IS THEREFORE ORDERED that the Motion to Suppress Evidence and Statements

filed by the defendant on December 13, 2005 is hereby considered to be withdrawn and is order to

be DISMISSED with prejudice.

                                                     Signed: February 15, 2006




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